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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

   FREE HOLDINGS INC.,

                         Plaintiff,

   v.
                                                         Civil Action No.: 1:22-cv-00881 (LGS)
   KEVIN McCOY, SOTHEBY’S INC.,
   NAMELESS CORPORATION, AND ALEX
   AMSEL A/K/A SILLYTUNA

                       Defendants.



        NOTICE OF VOLUNTARY DISMISSAL PRUSUANT TO FRCP 41(a)(1)(A)(i)

          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff and its counsel

  hereby give notice that the above-styled action is voluntarily dismissed, without prejudice, as to

  defendant Alex Amsel a/k/a Sillytuna.


  Dated: Rockville Centre, New York
         March 7, 2022
                                                FALCON RAPPAPORT & BERKMAN PLLC
So Ordered.

The Clerk of Court is respectfully directed
to terminate Alex Amsel as a Defendant in      By:     /s/ Jessica M. Moore
this action.                                           Kenneth J. Falcon, Esq.
                                                       Moish E. Peltz, Esq.
Dated: March 8, 2022                                   Steven C. Berlowitz, Esq.
New York, New York                                     Jessica M. Moore, Esq.
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